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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

UNITED STATES OF AMERICA                )     CR 218-014
                                        )
v.                                      )
                                        )
JESSICA TABUTEAU                        )
                                        )

       GOVERNMENT’S MOTION FOR DOWNWARD DEPARTURE AS TO
                 DEFENDANT JESSICA TABUTEAU

        Comes now the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and respectfully moves,

pursuant to U.S.S.G. § 5K1.1, for a downward departure from the applicable

sentencing guideline range for defendant Jessica Tabuteau, based upon her

substantial assistance to the government in the investigation and prosecution of

other persons.

                                  BACKGROUND

        1.    On March 7, 2018, the grand jury returned a 36-count indictment

against Jessica Tabuteau and 15 codefendants. Tabuteau is named in Counts 1 and

29 of the Indictment.

        2.    Count 1 charges that Tabuteau committed the offense of conspiracy to

possess with intent to distribute, and to distribute, 5 kilograms or more of cocaine, a

quantity of cocaine base, and a quantity of marihuana, in violation of 21 U.S.C. §

846.
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         3.   Count 29 charges that Tabuteau and three of her codefendants

committed the offense of possession with intent to distribute 500 grams or more of

cocaine, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

         4.   On September 28, 2018, Tabuteau pled guilty to conspiracy to possess

with intent to distribute, and to distribute, a quantity of cocaine, in violation of 21

U.S.C. § 846, a lesser included offense of Count 1 of the Indictment. As part of her

plea agreement, Defendant agreed to cooperate with the government, providing full,

complete, candid, and truthful cooperation in the investigation and prosecution of

the offenses charged in the Indictment and any related offenses.

         5.   The government represents, and will more fully develop at sentencing,

that the assistance of the defendant in the investigation and prosecution of others

constitutes “substantial assistance” as contemplated by U.S.S.G. 5K1.1. Therefore,

by the filing of this downward departure motion pursuant to U.S.S.G. § 5K1.1, the

Court is authorized to impose a sentence below the advisory guideline sentencing

range.

         6.   Tabuteau cooperated early in the investigation in this case and

provided the government with important information on several indicted co-

conspirators. The information she provided directly led to the prosecution of these

co-conspirators. Tabuteau met with agents and prosecutors on numerous occasions

to assist with the investigation, both before and after the Indictment was returned.

She testified at trial in this case and provided a full and truthful account of the

nature of the conspiracy, her role in it, and the role of other conspirators.



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      7.        Based on Defendant’s assistance, the government submits that

Defendant Tabuteau provided substantial assistance and that her cooperation

warrants a sentence below the sentencing guidelines. The government

characterizes the overall scope and quality of Defendant Tabuteau’s cooperation as

Significant.1

                                CITATION OF AUTHORITY

      Section 5K1.1 of the United States Sentencing Guidelines provides that:

      Upon motion of the government stating that the defendant has provided

substantial assistance in the investigation or prosecution of another person who has

committed an offense, the court may depart from the guidelines.

      (a) The appropriate reduction shall be determined by the court for reasons

stated that may include, but are not limited to, consideration of the following:

      (1) the court’s evaluation of the significance and usefulness of the defendant’s

assistance, taking into consideration the government’s evaluation of the assistance

rendered;

      (2) the truthfulness, completeness, and reliability of any information or

testimony provided by the defendant;

      (3) the nature and extent of the defendant’s assistance;

      (4) any injury suffered, or any danger or risk of injury to the defendant or his

family resulting from his assistance;

      (5) the timeliness of the defendant’s assistance.


1Using this scale: Exceptional, Very Significant, Significant, Moderate, and
Minimal.
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      WHEREFORE, the government respectfully requests that this Court depart

downward as the Court deems appropriate in imposing sentence on the

aforementioned defendant.

                                    Respectfully submitted,

                                    BOBBY L. CHRISTINE
                                    UNITED STATES ATTORNEY

                                    /s/ Matthew A. Josephson
                                    Assistant United States Attorney
                                    Georgia Bar No. 367216




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                              CERTIFICATE OF SERVICE

        The undersigned Assistant United States Attorney certifies that a copy of

this Motion has been delivered to the defendant’s attorney on this 7th day of March

2019.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              /s/ Matthew A. Josephson
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